   
 

 

  

 

 

e 2:05-cr-80879-AC-SDP ECF No.3 filed 10/04/05 PagelD.29 Page 1of 14

‘Northern Distriet of Texas ORIGINAL | 7
Office of the Clerk

1100 Commerce Room 14420
Datlas, Texas 73242-1003

September 27, 2005 05-8 O87 9

af fa parr pie ” ey a
a oF PAGE FOOD
David J. Weaver, Clerk of Court -
Theodore Levin United States Courthouse

231 W. Lafayette Blvd. FILED

Detroit, Michigan 48226
OCT - 4 2005

CLERK'S OFFICE, DETROIT-PSG
U.S. DISTRIGT CQUAT

WCE V ples Spa bes

Baw tad be oa

SUBJECT: 3:05-CR-239-M USA y. Makki, ct al (Ali Makki/Dfi, 3)

Dear Clerk:

rit ae AREA IK bie har
The following documents arc enclosed herewith pursuant to Rule 20 of the Federal Rules of Criminal al

Procedure:

Certified coptes of the Information, Waiver of Indictment, Consent to Transfer of Case, and Dacket
Sheet

Please acknowledge reccipt of the above file on the enclosed copy of this letter.

Sincerely,
KAREN MITCHELL
Clerk of Court

,, -Aeiole Bills

” Neorg Phillips
Deputy Clerk

Enclosures
Copy to Pre-Trial and AUSA

 
 

    

se 2:05-ct-80879-A @DP ECF No. 3 filed 10/04/05 @r° Page 2 of 14
Piea,

ee EP
: ff oe 7 oe AES
{ i Part
ls 4 2) [> OBIS Br a ay z are ie "

3

UNITED STATES DISTRICT COURT” ae gt ge a

NORTHERN DISTRICT OF TEKAS 3
DALLAS DIVISION SEP 19 ne

CLERK, 1 orerenge COURT
ity _

 

 

UNITED STATES OF AMERICA, 7

Plaintiff,

Ne -OKRCR-~0239KN
Vv.
HON. .

D.3 ALI MAKKI,

Defendant.

7,

 

CONSENT TO TRANSFER OF CASE
FOR GUILTY PLEA AND SENTENCE

I, ALI MAKKI, have been informed that an Information is pending against
me in the above-captioned case. Pursuant to Rule 20(a) of the Federal Rules of
Criminal Procedure, I state that I wish to plead guilty to the offense(s) charged, to

consent to the disposition of the case in the EASTERN DISTRICT OF MICHIGAN, in

Certified a true copy of an instrument
on file in my office on 4

Clerk, U.S. Distdet ¢ Court,

 

 

 

 

 
 

  

 

ase 2:05-cr-80879-A@HDP ECF No. 3 filed 10/04/05 @°* Page 3 of 14

Detroit, Michgian, in which I, ALI MAKKI, am present, and to waive venue, trial,

judgment, and sentencing in the Northern District of Texas.

Date: “2 Sal 0s

 

Date: + l 4

Eastern Distric

 

   

of

oN

 

[

 

 

 

Aha

Defendant

 

 

Afiorey for Defendant

 

 

APPR D
RICHARD ROPER
United States Attorney
Northern District of Texas

Date: a II sy

 
     

 

lof2

 

Case title: USA v. Makki et al

Assigned to: Judge Barbara M. G. Lynn

Defendant

Ali Makki (3)
TERMINATED: 09/27/2005

Pending Counts

None

Highest Offense Level (Opening)

None

Terminated Counts

18 U.S.C. 1623 FALSE
DECLARATION BEFORE A COURT

(3)

Highest Offense Level (Termin ated)

Felony

Complaints
None

Plaintiff

 

ebockst Reng879-AC-SDP ECF No. 3 fihtisd/e/0u/0SircSRtey eg Ehid DktHpapje2 se W1S82755873-L. 28...

CLOSED, RAMIREZ

U.S. District Court
Northern District of Texas (Dallas)
CRIMINAL DOCKET FOR CASE #: 3:05-cr-00239-3
Internal Use Only

Date Filed: 09/19/2005

Teprescnted by Clyde B Pritchard

Law Office of Clyde B Pritchard
PO Box 250677

Franklin, MI 48025

LEAD ATTORNEY

ATTORNEY TO BE NOTICED
Designation: Retained

Disposition

Disposition

Rule 20 Transfer to the Eastern District
of Michigan, Detroit Division

Disposition

Cartified a true copy of an instrument

on file in my office o

Clerk, U.S. District Court,

 

9/27/2005 1:39 PM

 

  
  

 

20of2

USA

 

Ase PCS RFRINS79-AC-SDP ECF No. 3. fittasderbandsircSplgnesibhig DktRpaple282095500755873-L_28...

represented by Joseph M Revesz
US Attormey's Office - Dallas
1100 Commerce St
3rd Floor
Dallas, TX 75242
214/659-8664
Fax: 214/659-8803 FAX
Email: joe.revesz(@usdoj.gov
LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Designation: Retained

 

 

 

 

 

 

 

 

 

Date Filed # Docket Text

09/19/2005 @1 | FELONY INFORMATION as to Tarek Makki (1) count 1, Adham Mackie
(2) count 2, Ali Makki (3) count 3. (nap, ) (Entered: 09/20/2005)

09/19/2005 @ | *** Magistrate Judge Inma C. Ramirez chosen by random selection to handle
matters thal may be referred in case as to Tarek Makki, Adham Mackie, Ali
Makkt (nap, ) (Entered: 09/20/2005)

09/19/2005 @4 | WAIVER OF INDICTMENT by Ali Makki (nap, ) (Entered: 09/20/2005)

09/19/2005 @7 | CONSENT to Transfer of Case for Guilly Plea and Sentence as to Ali Makki
(nap, ) (Entered: 09/20/2005)

09/27/2005 #10 | CONSENT TO TRANSFER JURISDICTION (Rule 20) to Easter District

of Michigan, Detroit Division. Counts closed as to Ali Makki (3) Count 3.
(nap, ) (Entered: 09/27/2005)

 

9/27/2005 1:39 PM

 

 

 
 

Case 3:05-cr-00239 Document Filed 09/19/2005 Page 1 of 8

' 0 US.DISTRICFCOURT..,
NORTHERN DISTSICT OF TEXAS
__F'LED :

ee

   

 

IN THE UNITED STATES DISTRICT COURT

OR IG | N AL FOR THE NORTHERN DISTRICT OF TEXe® | 9 2905

 

 

 

 

 

DALLAS DIVISIO
| CLERK 1S. tistRicT GoyRt

THE UNITED STATES OF AMERICA § by

§ | ee te ee ee
¥, § No,

‘ 3- =O:
TAREK MAKKI (1) § 3-05 CR-0239M
ADHAM MACKIE (2) §
ALI MAKKI] (3) §

NFORMATION
The United States Attorney Charges:

Introduction

 

1, From on or about May 25, 1999, and continuing thereafter up to and including
at Icast November 16, 2001, a civil action, styled: Bollore, S.A. v. Import Warehouse Inc.,
et al., No. 3:99-CV-1196-R, was pending in the United States District Court for Northern
Distnet of Texas, Dallas Division, in which Bollaré, 5.A., a French corporation, sued, among
others, defendants, Tarek Makki and Adham Mackie, and in which civil action defendant
Ali Makki later became a witness. Said civil action is summarized, in pertinent part, as
follows:

a. Bolloré, $.A.(hereafter referred to as “Bolloré”) was a manufacturer of
specialty paper, including cigarette paper.

b. During 1999, Bolloré initiated the aforementioned civil action
(hereafter referred to as “Lawsuit”) against the defendants Tarek
Makki, Adham Mackie, and others for, inter alia, trademark
counterfeiting, in violation of to the Lanham Act, 15 U.S.C. § 1116,

c. The Lawsuit alleged that the defendants, Tarek Makki, Adham
Mackie and others, engaged in the manufacture, importation,
distribution, sale and offering for sale counterfeit Zig-Zag® brand
cigarette paper products (hereafter referred to as “Zig Zag Products”).

d. The Zig Zag Products, at issuc in the Lawsuit, were sold under the
registered United States trademarks “Zig Zag” and “Smoking Man

Certified a true copy of gn instrument
an file in my office on

Information - Page 1

 

 

 

f

 
 

 

 

ase 2:05-cr-80879-A@DP ECF No. 3 filed 10/04/05 @pe'o.ss Page 7 of 14
Case 3:05-cr-00239 Document1 Filed 09/19/2005 Page 2 of 8

Design,” as well as United States registered copyrights for the design
on the Zig Zag Products’ booklets.

é. On July 29, 1999, the presiding judge in the Lawsuit, entered an order
preliminarily enjoining all of the defendants in the case from, inter alia,
importing, distributing or selling infringing Zi g Zag Products in the
United States (hereafter referred to as the “Order”’).

f. Subsequent to the Order, several of the defendants settled with Bolloré,
leaving only four defendants in the Lawsuit, including Tarek Makki
and Adham Mackie.

gE. Defendants Tarek Makki and Adham Mackie, ignored the Order and
continued their part in the manufacture of counterfeit booklets, cartons
and shipping cases in Jakarta, Indonesia and the Té-packaging of bulk
paper into counterfeit packaging for shipment into the United States for
distribution.

h. On May 11, 2001, as a result of the aforementioned continued
trademark counterfeiting activity, the presiding judge entercd an order
setting a hearing to determine whether or not Tarek Makki and
Adham Mackie were in contempt of the Order.

i, On November 16, 2001, as a result of the aforementioned contempt
hearing, which took place in Dallas, Texas on May 19, 2001, the
presiding judge entered an ORDER OF CONTEMPT finding and
concluding, in pertinent part, that the defendants, Tarek Makki and
Adham Mackie, their agents, officers, employces, representatives,
successors and assigns, and all other persons, firms or corporations
acting in concert, privity or participation with them were in civil
contempt of the Order

2. It was the burden of Bolloré during the aforementioned contempt hearing, to
establish that the defendants therein were in civil contempt of the Order.

3. In order for Bolloré to satisfy its burden of proof, it was material to said
contempt hearing that Bolloré establish that defendants, Tarek Makkiand Adham Mackie,
continued to be involved with the distribution of counterfeit Zig Zag Products, in this case,
the manufacture of booklets, cartons and shipping cases in Jakarta, Indonesia, and the re-
packaging of bulk paper into counterfeit packaging and the shipment of said products to the

United States for distribution therein .

Information - Page 2

 

 

 
 

 

 

 

ase 2:05-cr-80879-A@DP ECF No. 3 filed 10/04/05 Qe.s6 Page 8 of 14
Case 3:05-cr-00239 Document1 Filed 09/19/2005 Page 3 of 8

Count One
False Declaration Before a Court
(Violation of 18 U.S.C. § 1623)

1. The United States Attorney herein realleges and incorporates by reference
the allegations contained in the Introduction to this information as if fully set forth.

2, On or about May 29, 2001, in the Dallas Division of the Northern District
of Texas, defendant, Tarek Makki, while under oath as a witness in a hearing then being
held before the United States District Court for the said district entitled, Bollore, §.A,, v.
Import Warehouse Inc., et al., Civil Action No. 3:99-CV-1196-R, did knowingly make
false material declarations, that is to say:

a. defendant, Tarek Makki while under oath, did knowingly

declare in testimony before said court, with respect to the

aforesaid material matters, substantially as follows:

i. Q. You worked in the importation and exportation of
Zig-Zag cigarette papers as well, didn’t you?
A. Not to the States.

ii. Q. Not to the States?
A. Yes,

li, Q. Yournext paragraph in your declaration, which is
Exhibit 2, you say, I am in compliance with the order.
A. Correct.

iv. Q. What do you mean by that?
A. Well, I meant that when I signed the declaration J
was -- order (sic) not to import any Bollore product to the United
States,

Information - Page 3

 

 
 

 

ase 2:05-ct-80879-A @¥DP ECF No. 3 filed 10/04/05 er.’ Page 9 of 14
Case 3:05-cr-00239 Dacument1 Filed 09/19/2005 Page 4 of 8

v, Q. — And you haven’t done that since --
A. Correct,
vi. =©Q. ~~ -- June of 1999?
A. Since the restraining order,
vii, Q. And, in fact, you testified early (sic), [ think, that you’re

not importing or exporting anything into the United States
right now, correct?
A. Correct. [ haven’t done so.
b. The aforesaid testimony of defendant, Tarek Makki, as he then and
there well knew and believed, was false, and he did knowingly make
false material declarations in his answers to questions numbered; i,
i, Hii, iv, v, vi, and vii above, in that he then and there well knew

when he gave said answers to said questions that he had continued to

 

participate in the manufacture counterfeit Zig Zag Products,

 

including booklets, cartons and shipping cases, in Jakarta, Indonesia
and to re-packaging of bulk paper into counterfeit Zig Zag Products
packaging and shipment of said products into the United States for
distribution therein, in knowing violation of the July 29, 1999 Order
of the Honorable Jerry Buchmeyer, United States District Judge.

In violation of 18 U.S.C, § 1623.

Information - Page 4

 
ase 2:05-cr-80879-ACQPP ECF No.3 filed 10/04/05 F@elD.38 Page 10 of 14
Case 3:05-cr-00239 Document1 Filed 09/19/2005 Page 5o0f 8

Count Two
False Declaration Before a Court

(Violation of 18 U.S.C. § 1623)

I, The United States Attorney herein realleges and incorporates by reference
the allegations contained in the Introduction to this information as if fully set forth,

2, On or about May 29, 2001, in the Dallas Division of the Northern District
of Texas, defendant, Adham Mackie, while under oath as a witness in a hearing then
being held before the United States District Court for the said district entitled, Bollore,
5.A., v. Import Warehouse Inc,, et al., Civil Action No. 3:99-CV-1 196-R, did knowingly
make false material declarations, that is to say:

a. defendant, Adham Mackie, while under oath, did knowingly declare in
testimony before said court, with respect to the aforesaid material matters,
substantially as follows:

i. Q. — Have you, yourself, had any involvement in the distributing,
manufacturing or selling Zig-Zag cigarctte paper product
since July 29 of 1999?
A, — Absolutely not.

 

ii, Q. Have you ever had anybody on your behalf manufacture,

distribute or sell Zig-Zag cigarette paper product since

 

July 29 of 19997
A. Absolutely not.
iil, Q.  Haven’t sold it, haven’t touch (sic) it, haven’t moved it:
correct?

A. You're right.

Information - Page §

 

 
 

 

ase 2:05-cr-80879-AG@PP_ ECF No, 3 filed 10/04/05 R@BelD.39 Page 11of14
Case 3:05-cr-00239 Document1 Filed 09/19/2005 Page Gof8

b. The aforesaid testimony of defendant, Adham Mackie, as he then and there
well knew and believed, was false, and that he did knowingly make false
material declarations in his answers to questions numbered: i, ii, and iii
above; in that he then and there well knew as to said answers to said
questions that he had continued to participate in the manufacture counterfeit
Zig Zag Products, including booklets, cartons and shipping cases, in
Jakarta, Indonesia and to re-packaging of bulk paper into counterfeit Zig
Zag Products packaging and shipment of said products into the United
States for distribution therein, in knowing violation of the July 29, 1999

Order of the Honorable Jerry Buchmeyer, United States District Judge

 

In violation of 18 U.S.C. § 1623,

 

Information - Page 6

 

 
ase 2:05-cr-80879-AG@PP ECF No.3 filed 10/04/05 F@elD.40 Page 12 of 14
Case 3:05-cr-00239 Document Filed 09/19/2005 Page 7 of 8

Count Three
False Declaration Before a Court

(Violation of 18 U.S.C. § 1623)

1, The United States Attorney herein realleges and incorporates by reference
the allegations contained in the Introduction to this information as if fully set forth.

2. On or about May 29, 2001, in the Dallas Division of the Northern District
of Texas, defendant, Ali Makki, while under oath as a witness in a hearing then being
heid before the United States District Court for the said district entitled, Bollore, S.A., v.
import Warehouse Inc., et al., Civil Action No. 3:99-CV-1196-R, did knowingly make
false matcnal declarations, that is to say:

a, defendant, Ali Makki, while under oath, did knowingly declare in
testimony before said court, with respect to the aforesaid material matters,
substantially as follows:

i. Q. And do you any work (sic) for a company called General
Imports?
A. Yes, that’s my company.
tebe
1. Q. Did Tarek Makki know that you and your company, General
Imports, were doing business in Bollore Zig-Zag goods?
A. No.
kk
iii, Q Did Tarek Makki or Joe Makki assist you or General
Imports in any way whatsoever in your purchase and

distribution of Bollore Zig-Zag goods in Michigan?

Information - Page 7

 

 

 

 
 

 

ase 2:05-cr-80879-Ad@pP ECF No. 3 filed 10/04/05 R@e'0.41 Page 13 of 14
Case 3:05-cr-00239 Document1 Filed 09/4 9/2005 Page 8of8

A. No, they didn’t.

b. The aforesaid testimony of defendant, Ali Makki, as he then and there well
knew and believed, was false, and that he did knowingly make false
material declarations in his answers to questions i, ji, and iii above, in that
he then and there well knew that he had been directed and assisted by
defendants, Tarek Makki and Adham Mackie, in the purchase and
distribution in Michigan of counterfeit 73 g Zag Products through his
company, General Imports, in violation of the July 29, 1999 Order of the
Honorable Jerry Buchmeyer, United States District Judge.

In violation of 18 U.S.C, § 1623.

 

 

RICHARD B. ROPER

Lie STATES ATTORNEY

J rin M. Nees

frost United States Attorney
State Bar of Texas No. 16792700
1100 Commerce Street, Third Floor
Dallas, Texas 75242- 1699

T elephone: 214.659.8664
Facsimile: 214.659.8803

Information - Page 8

 

 
   

 

 

se 2:05-cr-80879-AG@M@PP ECF No. 3 filed 10/04/05 er” Page 14 of 14

. 4

 

US. PESTEACe COURT
SPC OB TEXAS

) NORTUER™ | Pay x
C PY IN THE UNITED STATES DISTRICT COURT? UB}

FOR THE NORTHERN DISTRICT OF TEXAS

 

 

 

 

 

 

 

DALLAS DIVISION SEP 1 9 2005
PDR. G8, MSTRICTCOURT

THE UNITED STATES OF AMERICA § o a

§ a —-
Vv. § No.

§ - -_ 6
ALI MAKKI (3) § 37-05 CR-0239M

WAIVER OF INDICTMENT

 

Ali Makki, defendant, who is accused of violating 18 U.S.C. § 1623, in that:

On or about May 29, 2001, in the Dallas Division of the Northern District
of Texas, defendant, Ali Makki, while under oath as a witness in a hearing
then being heid before the United States District Court for the said district
styled: Bollore, S.A., vy. Import Warehouse Ine., et al., Civil Action No.
3:99-CV-1196-R, did knowingly make false material declarations, as
alleged in Count Three.

Ali Makki, being advised of the nature of the charges and of his rights, hereby
waives in prosecution by indictment and consents that the proceeding may be by

information.

- SIGNED THIS /2" day ofcdes f , 2005,

eAELMAKKE CLYDE B. PRITCHARD
Defendant omey for Defendant
Michigan Bar #24011

P.O. Box 250677
Franklin, MI 48025

Certified a true copy of ap instrument
on file in my office on Legian l 7 L005

    

 

 

 
